08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 1 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 2 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 3 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 4 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 5 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 6 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 7 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 8 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                    Pg 9 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 10 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 11 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 12 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 13 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 14 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 15 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 16 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 17 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 18 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 19 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 20 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 21 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 22 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 23 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 24 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 25 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 26 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 27 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 28 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 29 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 30 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 31 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 32 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 33 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 34 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 35 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 36 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 37 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 38 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 39 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 40 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 41 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 42 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 43 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 44 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 45 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 46 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 47 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 48 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 49 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 50 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 51 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 52 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 53 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 54 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 55 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 56 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 57 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 58 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 59 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 60 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 61 of 62
08-13555-mg   Doc 29194-11   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D8
                                   Pg 62 of 62
